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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA

                                                MIAMI DIVISION

                            CASE NO.:

  M IGDALIA S ANTOS , a s P e r s o n a l
  Representative of the Estate of ELIAS SANTOS,

          Plaintiff,

  vs.

  UNITED STATES OF AMERICA d/b/a MIAMI
  VA HEALTHCARE SYSTEM,

      Defendant.
  _______________________________________/

                                COMPLAINT FOR WRONGFUL DEATH

        COMES NOW, the Plaintiff, MIGDALIA SANTOS, as Personal Representative of the Estate

 of ELIAS SANTOS, and sues the Defendant, UNITED STATES OF AMERICA d/b/a MIAMI VA

 HEALTHCARE SYSTEM, and as grounds therefor states:

                                            NATURE OF LAWSUIT

        1.        This is a wrongful death action arising from the medical care and treatment rendered

 to ELIAS SANTOS through the MIAMI VA HEALTHCARE SYSTEM.                                             Specifically, the

 Defendant, by and through its medical providers, including Marie E. Antoine, N.P. (“M. Antoine,

 N.P.”) and Lennox Jeffers, M.D. (“Dr. Jeffers”), failed to, among other things, properly test and

 obtain critical diagnostic imaging studies to rule out hepatocellular carcinoma (liver cancer), and as

 a consequence thereof, there was a significant delay in diagnosing this condition resulting in ELIAS

 SANTOS’ death.




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                                           JURISDICTION AND VENUE

           2.        This action is brought under the Federal Tort Claims Act, 28 U.S.C. §2671 et seq.

           3.        This Court has jurisdiction of this action pursuant to 28 U.S.C. §1346(b)(1) as the

 subject action seeks money damages for the wrongful death of ELIAS SANTOS caused by the

 negligence of employees of the UNITES STATES OF AMERICA, specifically, M. Antoine, N.P.

 and Dr. Jeffers, who were acting in the course and scope of their employment at all material times

 hereto.

           4.        The venue lies in this district court pursuant to 28 U.S.C. § 1391 as a substantial part

 of the events or omissions giving rise to these claims occurred in this district.

                                                         PARTIES

           5.        Plaintiff is the duly appointed Personal Representative of the Estate of ELIAS

 SANTOS, Deceased, and brings this action on behalf of the Estate and his survivor pursuant to the

 Florida Wrongful Death Act, Section 768.16-768.28, Florida Statutes.

           6.        The survivor of ELIAS SANTOS is his spouse, MIGDALIA SANTOS.

           7.        At all pertinent times, ELIAS SANTOS, was a resident of Miami-Dade County,

 Florida, as well as a veteran of the United States Armed Services having served as an active duty

 member of the United States Army from on or about 1972 through 1976.

           8.        The Defendant, UNITED STATES OF AMERICA, did and does business at all

 pertinent times as the MIAMI VA HEALTHCARE SYSTEM and owned and operated a hospital,

 known as the Miami VA Hospital, and outpatient clinics in Miami-Dade County, whereat medical

 services were provided to veterans of the United States Armed Services, including ELIAS SANTOS.

           9.        At all pertinent times, Dr. Jeffers, was and is a physician duly licensed to practice his

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 profession as provided by the laws of the State of Florida and was engaged in the practice of

 hepatology and gastroenterology in Miami-Dade County, Florida and specifically, at Miami VA

 Hospital and the Defendant’s outpatient clinics.

        10.     At all pertinent times, M. Antoine, N.P., was and is a nurse practitioner duly licensed

 to practice her profession as provided by the laws of the State of Florida and was engaged in the

 practice of her profession as a nurse practitioner in Miami-Dade County, Florida and specifically,

 at Miami VA Hospital and the Defendant’s outpatient clinics.

        11.     At all pertinent times, Dr. Jeffers and M. Antoine, N.P., were employees of the

 Defendant, UNITED STATES OF AMERICA, and were working in the course and scope of their

 employment and/or agency when providing medical care to ELIAS SANTOS, deceased, at Miami

 VA Hospital and/or the Defendant’s outpatient clinics.

        12.     At all times material hereto, Dr. Jeffers was working in the course and scope of his

 employment with Defendant, UNITED STATES OF AMERICA, while supervising M. Antoine,

 N.P., and specifically M. Antoine, N.P.’s medical care of ELIAS SANTOS.

        13.     At all pertinent times, the Defendant, UNITED STATES OF AMERICA, is liable for

 the negligence of its employees, including Dr. Jeffers and M. Antoine, N.P.

                       COMPLIANCE WITH CONDITIONS PRECEDENT
                        AND FLORIDA STATUTE SECTION 766.106(2)

        14.     Pursuant to 28 U.S.C. §2675(a) and §766.106, Florida Statutes, Plaintiff has

 performed each and every condition precedent to the bringing of this action, including service of the

 requisite notices of intent to initiate litigation for medical negligence upon the Defendant and the

 Standard Form 95.



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        15.     Defendant has failed to cooperate and provide full and proper compliance with its

 obligations to provide good faith statutory presuit discovery as required by Florida Statute §766.106.

 Defendant has also failed to conduct a review as provided in §766.203(3) to determine the liability

 of the Defendant.

                                     CERTIFICATE OF COUNSEL

        16.     Through counsel’s signature below, it is hereby certified, pursuant to Fla. Stat.

 766.203, that counsel for the Plaintiff, before filing this action, made a reasonable investigation as

 permitted by the circumstances to determine that there are grounds for a good faith belief that there

 was negligence in the care and treatment of ELIAS SANTOS. Such reasonable investigation has

 given rise to a good faith belief that grounds exist for an action against the named Defendant.

                                       FACTUAL ALLEGATIONS

        17.     At all pertinent times, ELIAS SANTOS had Hepatitis C.

        18.     As a consequence of this condition, ELIAS SANTOS had a significantly increased

 risk of cirrhosis of the liver and hepatocellular carcinoma (liver cancer). ELIAS SANTOS required

 appropriate and regular screening for these conditions, including diagnostic imaging and labs, to

 allow for early detection and treatment.

        19.     On June 1, 2015, M. Antoine, N.P. evaluated ELIAS SANTOS for his Hepatitis C

 and ordered a CT scan of his abdomen with IV iodinated contrast to screen ELIAS SANTOS’ liver

 for the presence of cirrhosis and liver cancer.

        20.     M. Antoine, N.P., who knew or should have known that ELIAS SANTOS had an

 iodine allergy, failed to follow protocols for ordering a CT scan for a patient with an iodine allergy.

 Specifically, M. Antoine, N.P. failed to order certain medications ELIAS SANTOS needed before


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 the IV iodinated contrast could be administered to minimize his risk of a severe allergic reaction to

 the contrast.

        21.      As a consequence of M. Antoine, N.P.’s failure to follow protocols and to order the

 pre-CT scan medications for ELIAS SANTOS, the CT scan was cancelled by a radiology nurse with

 the Miami VA Healthcare System on June 26, 2015.

        22.      On June 26, 2015, M. Antoine, N.P. was notified by the radiology nurse that the CT

 scan was cancelled and provided with the reasons for its cancellation. M. Antoine, N.P. was also

 informed of the necessary medications she needed to order for the CT scan to be performed.

        23.      Notwithstanding having been provided with this information, M. Antoine, N.P. did

 not re-order the CT scan and instead ordered an abdominal ultrasound to evaluate ELIAS SANTOS’

 liver for the presence of hepatocellular carcinoma (liver cancer).

        24.      The ultrasound was performed on July 20, 2015 and was insufficient to determine if

 ELIAS SANTOS had liver cancer. M. Antoine, N.P. was notified by the interpreting radiologist that

 the liver was incompletely seen during the ultrasound and that the study was “inadequate to exclude

 hepatocellular carcinoma.”

        25.      M. Antoine, N.P. failed to re-order the CT scan or any other diagnostic imaging test,

 i.e. an MRI with gadolinium, when she evaluated ELIAS SANTOS on July 21, 2015,

 notwithstanding the results of the ultrasound from the day before. M. Antoine, N.P. also failed to

 order an Alpha-Fetoprotein (“AFP”) lab study, a tumor marker test, to determine if ELIAS SANTOS

 had liver cancer.

        26.      M. Antoine, N.P. failed to notify ELIAS SANTOS that the ultrasound did not rule

 out the presence of liver cancer and was an inadequate study.


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        27.     Thereafter, in February or March 2016, M. Antoine, N.P., again, ordered a CT scan

 of ELIAS SANTOS’ abdomen with IV iodinated contrast to screen ELIAS SANTOS’ liver for the

 presence of cirrhosis and liver cancer. For the second time, M. Antoine, N.P. failed to follow

 protocols for ordering a CT scan with IV iodinated contrast for a patient with an iodine allergy by

 not ordering the pre-contrast medications. Again, this resulted in the CT scan being cancelled by a

 radiology nurse with the Miami VA Healthcare System.

        28.     M. Antoine, N.P. was notified, identical to the time before, of her failure to follow

 protocols and of the necessary medications needed to be ordered for the CT scan to be completed.

 M. Antoine, N.P. signed-off as having reviewed this notification on April 4, 2016. Dr. Jeffers, who

 was M. Antoine, N.P.’s supervising physician, did not review and/or sign-off on the radiology

 nurse’s note advising of the reasons the CT scan was cancelled until August 8, 2016, notwithstanding

 that it was in existence since April 1, 2016.

        29.     M. Antoine, N.P. did not re-order the CT scan or any other diagnostic imaging test

 until March 14, 2017, when ELIAS SANTOS presented with right upper quadrant pain. At said

 time, M. Antoine, N.P. ordered an ultrasound, which identified hepatic masses throughout the liver.

        30.     An AFP value was not obtained by M. Antoine, N.P. or Dr. Jeffers between February

 5, 2015 and March 29, 2017, notwithstanding ELIAS SANTOS’ known history of Hepatitis C.

 ELIAS SANTOS had other labs done during this time frame but not a needed tumor marker (i.e.

 AFP) study to allow for the early detection and treatment of hepatocellular carcinoma. When

 ultimately ordered, ELIAS SANTOS’ AFP value was 1210 on March 29, 2017 (a normal value or

 reference range for an AFP is <6.1 ng/ml).

        31.     A CT scan with IV iodinated contrast was finally performed on April 4, 2017. The


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 CT scan identified masses throughout the liver which the radiologist stated likely represented

 multifocal hepatoma.

        32.      A biopsy performed on April 12, 2017, confirmed hepatocellular carcinoma (liver

 cancer).

        33.      ELIAS SANTOS had Stage IIIa hepatocellular carcinoma when diagnosed.

        34.      As a consequence of the actions and/or inactions of M. Antoine, N.P. and Dr. Jeffers,

 the cancer in ELIAS SANTOS’ liver progressed and spread without being diagnosed and/or ELIAS

 SANTOS receiving needed medical care, up until March 29, 2017, when he had at least 20 hepatic

 masses throughout the liver, in both lobes, with the largest mass measuring 7.6 x 6.8 cm.

        35.      ELIAS SANTOS died on April 26, 2018, secondary to liver cancer.

                                          COUNT I - NEGLIGENCE

        36.      Plaintiff re-alleges and re-affirms all of the allegations contained in paragraphs 1

 through 35 as if set forth herein.

        37.      Defendant, UNITED STATES OF AMERICA d/b/a MIAMI VA HEALTHCARE

 SYSTEM, operates a hospital, Miami VA Hospital, and outpatient clinics, which provided medical

 care, treatment and services to ELIAS SANTOS, including the care, treatment and services of its

 physicians and nursing staff.

        38.      Defendant, UNITED STATES OF AMERICA d/b/a MIAMI VA HEALTHCARE

 SYSTEM, owed a duty of reasonable care to ELIAS SANTOS to provide him with non-negligent

 medical care.

        39.      Defendant, UNITED STATES OF AMERICA d/b/a MIAMI VA HEALTHCARE

 SYSTEM, breached this duty to ELIAS SANTOS, by and through its employed physician and nurse


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 practitioner, Dr. Jeffers and M. Antoine, N.P., by:

                 (a)       Negligently and carelessly failed to exercise reasonable care in the diagnosis,

 care and treatment of ELIAS SANTOS;

                 (b)       Negligently and carelessly failed to appropriately assess and evaluate ELIAS

 SANTOS;

                 (c)       Negligently and carelessly failed to properly screen ELIAS SANTOS for

 hepatocellular carcinoma;

                 (d)       Negligently and carelessly failed to obtain appropriate diagnostic imaging

 studies;

                 (e)       Negligently and carelessly failed to re-order diagnostic imaging studies;

                 (f)       Negligently and carelessly failed to order the necessary medications for ELIAS

 SANTOS to be able to undergo a CT scan with IV iodinated contrast;

                 (g)       Negligently and carelessly failed to order AFP lab studies;

                 (h)       Negligently and careless failed to follow-up with ELIAS SANTOS after being

 notified of the need to re-order CT scans;

                 (i)       Negligently and carelessly failed to inform ELIAS SANTOS that the

 ultrasound he underwent on July 20, 2015 was inadequate to exclude hepatocellular carcinoma;

                 (j)       Dr. Jeffers failed to properly supervise M. Antoine, N.P. and her care of

 ELIAS SANTOS.

        40.      As a direct and proximate result of the negligence of the Defendant, which resulted

 in the death of ELIAS SANTOS, the Estate and its Survivors, in the past and will in the future

 continue to suffer damages, as described below.


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        41.     As a direct and proximate result of the above described negligence of the Defendant,

 by and through its employees and/or agents, Dr. Jeffers and M. Antione, N.P., which caused the

 death of ELIAS SANTOS, Plaintiff sets forth the below listed claims for damages on behalf of the

 Estate and the Survivors, pursuant to Fla. Stat. 768.21, the Wrongful Death Act:

               CLAIM OF PERSONAL REPRESENTATIVE ON BEHALF OF
                         THE ESTATE OF ELIAS SANTOS

        42.     The Estate has in the past suffered, and will in the future continue to suffer the

 following damages:

                a.        Medical or funeral expenses, or both, which have been incurred due to the
                          decedent’s death that have become a charge against the Estate or that were
                          paid by or on behalf of the decedent;

                b.        Loss of prospective net accumulations of the Estate of ELIAS SANTOS.

       CLAIM OF PERSONAL REPRESENTATIVE OF ESTATE ON BEHALF OF
                  SURVIVING SPOUSE, MIGDALIA SANTOS

        43.     MIGDALIA SANTOS, as surviving spouse of ELIAS SANTOS, has in the past

 suffered and will in the future continue to suffer the following damages:

                a.        The value of lost support and services from the date of the decedent’s injury
                          to her death, with interest, and future loss of support and services from the
                          date of death, and reduced to present value, to the extent of her normal life
                          expectancy;

                b.        The loss of the decedent’s companionship and mental pain and suffering;

                c.        Medical expenses; and

                d.        Funeral expenses.

        WHEREFORE, Plaintiff, MIGDALIA SANTOS, as Personal Representative of the Estate

 of ELIAS SANTOS, deceased, on behalf of the Estate and the Survivor, sues the Defendant,



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  UNITED STATES OF AMERICA d/b/a MIAMI VA HEALTHCARE SYSTEM JAMES, for

  compensatory damages, costs and such other relief as may be allowable by law.


  Dated: March 26. 2021                                By: s/ Bradley Kaplan
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